                                                                                                         FILED IN THE
             Case 4:22-cr-06021-SAB               ECF No. 21           filed 05/10/22      PageID.61 Page     1 of 1
                                                                                                     U.S. DISTRICT COURT
                                                                                                      EASTERN DISTRICT OF WASHINGTON




                                                CHARGES AND PENALTIES                                  May 10, 2022
                                                                                                           SEAN F. MCAVOY, CLERK


        CASE NAME: _______________________________
                   JORGE BALLESTEROS               CASE NO.                                      4:22-CR-6021-SAB-1
                                                                                               ______________________

                                                     ✔
                                     2
                 TOTAL # OF COUNTS: _______       _________FELONY      _________MISDEMEANOR     _________PETTY OFFENSE




Count             Statute                    Description of Offense                                      Penalty
                                                                              CAG not less than 5 years nor more than 40 years; and/or
                                                                              up to $5,000,000 fine; not less than 4 years nor more than
                                   Possession with Intent to Distribute 5
        21 U.S.C. § 841(a)(1), (b)                                            life supervised release; a $100 special penalty assessment;
  1                                Grams or More of Actual (Pure)
        (1)(B)(viii)                                                          and denial of certain federal benefits pursuant to 21 U.S.C.
                                   Methamphetamine
                                                                              §§ 862 and 862a

                                                                              CAG not more than 20 years; up to a $1,000,000 fine;
                                                                              not less than 3 years up to a life term of supervised release;
        21 U.S.C. § 841(a)(1),     Possession with Intent to Deliver
  2                                                                           a $100 special penalty assessment; denial of Federal
        (b)(1)(C)                  Fentanyl
                                                                              benefits



        21 U.S.C. § 853            Forfeiture Allegations
